                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
KATHRYN KNOWLTON, et al.,
                                      Plaintiffs,
v.                                                                   Case No. 2020-CV-01660

CITY OF WAUWATOSA, et al.,
                              Defendants.
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               DEFENDANTS’ [DRAFT] MOTION FOR SANCTIONS
                     PURSUANT TO FED. R. CIV. PROC. 11
______________________________________________________________________________
       Defendants, by their attorneys, Gunta Law Offices, S.C., hereby respectfully move this

Court for the entry of an Order imposing sanctions pursuant to Rule 11 of the Federal Rules of

Civil Procedure. In support of their Motion, Defendants state as follows:

                                           INTRODUCTION

       Plaintiffs and their attorneys advanced a lawsuit that, from its inception, was frivolous,

dilatory, and without merit. This lawsuit represents a profound abuse of the judicial process. It is

one thing to take on the charge of vindicating rights associated with civil rights violations. It is

another to take on the charge of deceiving a federal court and the public into believing that rights

were infringed, without regard to whether any laws or rights were in fact violated. This is what

happened here.

       Attorneys cannot exploit their privilege and access to the judicial process to make

accusations they know to be false. And when an attorney has done so, sanctions are in order.

America’s civil litigation system affords individuals the privilege to file a lawsuit to allege a

violation of law. Individuals, however, must litigate within the established parameters for filing a

claim. Such parameters are set forth in statutes, rules of civil procedure, local court rules, and



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professional rules of responsibility and ethics. Every attorney who files a claim on behalf of a

client is charged with the obligation to know these statutes and rules, as well as the law allegedly

violated. Specifically, attorneys have an obligation to the judiciary, their profession, and the public

(i) to conduct some degree of due diligence before presenting allegations as truth; (ii) to advance

only tenable claims; and (iii) to proceed with a lawsuit in good faith and based on a proper purpose.

       The attorneys who filed the Fourth Amended Complaint abused the well-established rules

applicable to the litigation process by proffering claims not backed by law; proffering factual

allegations and claims they know to be false; and dragging out these proceedings even after a prior

motion to dismiss was granted.

       Indeed, attorneys take an oath to uphold and honor our legal system. The sanctity of both

the courtroom and the litigation process are preserved only when attorneys adhere to this oath and

follow the rules, and only when courts impose sanctions when attorneys do not. As such, this Court

should grant the motion for sanctions filed by Defendants and impose sanctions pursuant to Rule

11 of the Federal Rules of Civil Procedure.

                     STATEMENT OF CASE AND PROCEDURAL HISTORY

       The original Complaint in this matter was filed November 2, 2020. (Dkt. 1) The original

Complaint involved two Plaintiffs and four claims for relief. (Dkt. 1) On March 6, 2021, Plaintiffs

filed an Amended Complaint adding additional plaintiffs, defendants, and claims for relief. (Dkt.

24) The Plaintiffs then filed a Third Amended Complaint on August 30, 2021, adding additional

plaintiffs, defendants, and alleging ten causes of action. (Dkt. 54) On September 8, 2021, Plaintiffs

filed a (3rd) Third Amended Complaint alleging 16 causes of action including: (1) Fourth

Amendment Right to be Free from Unlawful Seizure; (Dkt. 56, ¶¶ 1424-1433); (2) Fourth

Amendment Right to be Free from Excessive Force (Dkt. 54, ¶¶ 1434-1439); (3) Sixth Amendment



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Right to Counsel (Dkt. 56, ¶¶ 1440-1443); (4) Policy and Practice of Arrests for Unlawful

Assembly in Violation of First and Fourth Amendment Rights (Dkt. 56, ¶¶ 1444-1449); (5) Monell

Claim alleging de facto policies of excessive force, unlawful seizure, and arrest (Dkt. 56, ¶¶ 1450-

1454); (6) Unlawful Search and Seizure of Property in Violation of Fourth and Fourteenth

Amendment (Dkt. 56, ¶¶ 1455-1459); (7) Law Enforcement Activities Violate Title VI (Dkt. 56,

¶¶ 1460-1464); (8) Conspiracy to Deprive Plaintiffs of their Constitutional Rights (Dkt. 56, ¶¶

1465-1478); (9) Retaliation for Exercise of Free Speech (Dkt. 56, ¶¶ 1479-1484); (10) Violation

of Driver’s Privacy Protection Act (Dkt. 56, ¶¶ 1485-1494); (11) Failure to Intervene (Dkt. 56,

¶¶1495-1499; (12) Abuse of Power (Dkt. 56, ¶¶1500-1505; (13) Equal Protection (Dkt. 56,

¶¶1506-1508; (14) Equal Protection (Dkt. 56, ¶¶1509-1511); (15) Equal Protection (Dkt. 56,

¶¶1512-1516); and (16) Violation of Right to Assemble (Dkt. 56, ¶¶1517-1523).

        On November 15, 2021, Defendants filed a Motion to Dismiss (Dkt. 109) which was

granted in whole by the Court on February 1, 2021. (Dkt. 152) Plaintiffs were given fourteen days

to amend, and their Fourth Amended Complaint was filed on February 15, 2022. (Dkt. 155)

Plaintiffs’ Fourth Amended Complaint alleges 14 causes of action.

                                       LEGAL STANDARD

        Federal Rule of Civil Procedure 11 imposes a set of duties on those who file papers with

the court. It also provides for an appropriate sanction to be imposed if those duties are violated.

Rule 11(b) states, in pertinent part, that

        [b]y presenting to the court a pleading, written motion, or other paper—whether by signing,
        filing, submitting, or later advocating it—an attorney or unrepresented party certifies that
        to the best of the person's knowledge, information, and belief, formed after an inquiry
        reasonable under the circumstances:

        (1) it is not being presented for any improper purpose, such as to harass, cause unnecessary
        delay, or needlessly increase the cost of litigation;



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         (2) the claims, defenses, and other legal contentions are warranted by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law or for
         establishing new law; [and]

         (3) the factual contentions have evidentiary support or, if specifically so identified, will
         likely have evidentiary support after a reasonable opportunity for further investigation or
         discovery . . . .


Fed. R. Civ. P. 11(b)(1)–(3). The Rule grants a court discretion to impose an appropriate sanction

for violations of these obligations, which may include “nonmonetary directives; an order to pay a

penalty into court; or, if imposed on motion and warranted for effective deterrence, an order

directing payment to the movant of part or all of the reasonable attorney's fees and other expenses

directly resulting from the violation.” Id. 11(c)(4).

         The duties imposed in Rule 11—coupled with the available sanctions—ensure that the

“powerful, intimidating, and often expensive” machinery of the federal judiciary “[is] engaged

only to address claims and defenses that have a reasonable basis in fact and law and that are

asserted only for a proper purpose.” N. Ill. Telecom, Inc. v. PNC Bank, N.A., 850 F.3d 880, 883

(7th Cir. 2017). Toward that end, the Rule imposes an objective standard of reasonableness on a

party's or lawyer's action. Id. at 885. As the Seventh Circuit has explained, the Rule “[leaves] no

room for an ‘empty head, pure heart’ defense.” Id. Additionally, in this context, a bad claim spoils

the bunch; one cannot avoid sanctions for frivolous claims simply because they were included with

one or more non-frivolous claims. Reed v. Great Lakes Cos., Inc., 330 F.3d 931, 936 (7th Cir.

2003).

         A district court enjoys broad discretion in arriving at a sanctions award that it believes will

serve the deterrent purpose of Rule 11. See Divane v. Krull Elec. Co., 319 F.3d 307, 314 (7th Cir.

2003); Fries v. Helsper, 146 F.3d 452, 459 (7th Cir. 1998) (noting that district courts have

“significant discretion in determining what sanctions, if any, should be imposed for a violation,

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subject to the principle that the sanctions should not be more severe than reasonably necessary to

deter repetition of the conduct by the offending person(s).” The primary goal of sanctions under

this Rule is not to reimburse the movant dollar-for-dollar, but instead to punish the violator and

deter future misconduct. See Brandt v. Schal Assoc., Inc., 960 F.2d 640, 645 (7th Cir. 1992).

                                            ARGUMENT

   Sanctioning litigants is a serious matter, not to be undertaken unless the facts clearly call for

it. Sanctions are undoubtedly appropriate here where there is no doubt that Plaintiffs’ attorneys

filed this Fourth Amended Complaint in contravention of Rule 11.

   I.      PLAINTIFFS’ CLAIMS ARE NOT WARRANTED BY EXISTING LAW, IN
           CONTRAVENTION OF RULE 11.

   Defendants’ prior Motion to Dismiss directly addressed Plaintiffs’ allegations that Mayor

McBride lacked a sufficient factual basis to declare the emergency order under state law citing

multiple authorities in support of the position that Plaintiffs have no Constitutional right to state

mandated procedures. (Dkt. 109, pp. 25-27) In the Order, the Court agreed and specifically advised

the Plaintiffs the “federal government is not the enforcer of state law” citing Pasiewicz v. Lake

Cty. Forest Pres. Dist., 270 F.3d 520, 526 (7th Cir. 2001). (Dkt. 152, p. 26) Nonetheless, Plaintiffs

Fourth Amended Complaint continues to seek “[a]n order finding the City of Wauwatosa’s curfew

of October 7 - 12, 2021 was unlawful and illegally enacted.” (Dkt. 155, p. 135)

   Likewise, Defendants’ prior The Motion to Dismiss directly addressed that prosecutorial

immunity shields Prosecutor Schimmel from any liability for his role in prosecuting the municipal

citations. (Dkt. 109, pp. 27-28) Nonetheless, Plaintiffs Fourth Amended Complaint brings a state

law Malicious Prosecution claim against Prosecutor Schimmel, Jeffrey Farina, and John Doe

Officers. (Dkt. 155, Thirteenth Claim for Relief: pp. 130-132) Even a cursory review of Wisconsin

law provides: “[t]he general rule was, and is, that a prosecutor is absolutely immune from a suit

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for malicious prosecution.” Imbler v. Pachtman, 424 U.S. 409, 437. Such immunity applies for

both malicious prosecution as well as a § 1983 action. Evers v. Des Jardins, 191 Wis. 2d 362, 530

N.W.2d 71 (Ct. App. 1995). The immunity applies equally to individuals acting “under color of

law” who perform official functions in the judicial process, such as judges or prosecutors, as well

as police-officers. Dowd v. City of New Richmond, 137 Wis. 2d 539, 556 (1987) (citing Briscoe v.

LaHue, 460 U.S. 325, 329 (1983)).

   Furthermore, the prevailing rule under the Fourth Amendment that searches and seizures may

not be made without a warrant is subject to various exceptions. One of them permits warrantless

searches incident to custodial arrests, United States v. Robinson, 414 U.S. 218 (1973); Chimel v.

California, 395 U.S. 752, 755 (1969); Weeks v. United States, 232 U.S. 383, 392 (1914), and has

traditionally been justified by the reasonableness of searching for weapons, instruments of escape,

and evidence of crime when a person is taken into official custody and lawfully detained. See

United States v. Robinson. It is also plain that searches and seizures that could be made on the spot

at the time of arrest may legally be conducted later when the accused arrives at the place of

detention. If need be, Abel v. United States, 362 U.S. 217 (1960), settled this question. There the

defendant was arrested at his hotel, but the belongings taken with him to the place of detention

were searched there. In sustaining the search, the Court noted that a valid search of the property

could have been made at the place of arrest and perceived little difference.

       ‘when the accused decides to take the property with him, for the search of it to occur instead
       at the first place of detention when the accused arrives there, especially as the search of
       property carried by an accused to the place of detention has additional justifications, similar
       to those which justify a search of the person of one who is arrested.’

Id., at 239. Moreover, as set forth in South Dakota v. Opperman, 428 U.S. 364, 96 S.Ct. 3092, 49

L.Ed.2d 1000, and Illinois v. Lafayette, 462 U.S. 640, the policies behind the warrant requirement,

and the related concept of probable cause, are not implicated in an inventory search, which serves

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the strong governmental interests in protecting an owner's property while it is in police custody,

insuring against claims of lost, stolen, or vandalized property, and guarding the police from danger.

Nonetheless, Plaintiffs Fourth Amended Complaint brings an Unlawful Search and Seizure claim

regarding the seizure of Plaintiffs’ phones and search of vehicles following arrests. (Dkt. 155,

Tenth Claim for Relief: pp. 128-129) The Fourth Amended Complaint further makes allegations

that the search of property held by Plaintiffs at the time of their arrest was unlawful. (Dkt. 155, ¶¶

708)

   II.      PLAINTIFFS’ ALLEGATIONS ARE NOT WELL-GROUNDED IN FACT, IN
            CONTRAVENTION OF RULE 11:

   1. Plaintiffs’ counsel alleged that the municipal ticket for Plaintiff Vitucci was dismissed in

municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 189), knowing that there was

never a ruling on probable cause to charge in municipal court. (See Municipal Court Records

Vitucci) Attorney Motley was her attorney of record in municipal court.

   2. Plaintiffs’ counsel alleged that the municipal ticket for Plaintiff Coleman was dismissed in

municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 189), knowing that there was

never a ruling on probable cause to charge in municipal court. (See Municipal Court Records

Coleman) Attorney Motley was his attorney of record in municipal court.

   3.    Plaintiffs’ counsel alleged that the municipal ticket for Plaintiff Brandon Wilborn was

dismissed in municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 201), knowing

that there was never a ruling on probable cause to charge in municipal court. (See Municipal Court

Records Wilborn) Attorney Motley was his attorney of record in municipal court.

   4. Plaintiffs’ counsel alleged that the municipal ticket for Plaintiff Rosalind Rogers was

dismissed in municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 231), knowing




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that there was never a ruling on probable cause to charge in municipal court. (See Municipal Court

Records Rogers) Attorney Motley was her attorney of record in municipal court.

    5. Plaintiffs’ counsel alleged that the municipal tickets for Plaintiff Isiah Baldwin was

dismissed in municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 231), knowing

that there was never a ruling on probable cause to charge in municipal court. (See Municipal Court

Records Baldwin) Attorney Motley was his attorney of record in municipal court.

    6. Plaintiffs’ counsel alleged that municipal tickets for Plaintiff Aidali Rivera were dismissed

in municipal court for “lack of probable cause to charge” (Dkt. 155, ¶ 691), knowing that there

was never a ruling on probable cause to charge in municipal court. (See Municipal Court Records

Rivera) Attorney Motley was her attorney of record in municipal court.

    7. Plaintiffs’ counsel allege that Defendant Schimmel continues for thirty-eight Plaintiffs “to

maliciously and unlawfully prosecute these tickets for the unlawful amount of $1,321” (Dkt. 155,

¶ 280), knowing that on July 20, 2021, Defendant Schimmel prepared and provided Attorney

Motley a stipulation to amend the citations pending in Wauwatosa Municipal Court to a forfeiture

of $200 for thirty-four1 of the named Plaintiffs. Attorney Motley refused to sign the stipulation.

As to the four remaining Plaintiffs: Aidali Rivera no longer has a pending municipal citation (Dkt.

155, ¶ 691); Joanna Geisler and William Schroeder were both found guilty on December 1, 2021,

for “Disobey Lawful Order” in violation of Ordinance 7.48.010(4) and the forfeiture was amended

to $691.00 (See Municipal Court Records Geisler and Schroeder); and Eric Fanning’s citation was

dismissed on March 3, 2021. (See Municipal Court Records Eric Fanning)



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  Isiah Baldwin, Jacqueline Bogenberger, Raine Cich, Tahudah Cole, Taleavia Cole, Tracy Cole, Rachel Dulay,
Anne Delessio-Parson, Jill Ferguson, Breon Foster, Joseph Hayes, Destiney Jones, Kathelyn Knowlton, Sonora
Larson, Holly Lavora, Dana McCormick, Lazarito Matheu, Molly Nilssen, Carmen Palmer, Palmer (Juvenile)
female 1, Palmer (Juvenile) male 2, Leah Porter, William Rivera, Hector Rodriguez, Jose Hernandez Ramirez, Oscar
Rodriguez, Nathan Sabel, Peter Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells,
Katelyn Wojnar, and Sonja Worthy.

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    8. Plaintiffs’ counsel allege that Joanna Geisler was unlawfully arrested and had not violated

any ordinance (Dkt. 155, ¶ 638), knowing that on December 1, 2021, she was found guilty in

municipal court for “Disobey Lawful Order” in violation of Ordinance 7.48.010(4). 2 Attorney

Motley was her attorney of record in municipal court.

    9. Plaintiffs’ counsel allege that William Schroeder was unlawfully arrested and had not

violated any ordinance (Dkt. 155, ¶ 639), knowing that on December 1, 2021, he was found guilty

in municipal court for “Disobey Lawful Order” in violation of Ordinance 7.48.010.3 Attorney

Motley was his attorney of record in municipal court.

    10. Plaintiffs’ counsel allege that Defendant Warren did not have probable cause to ticket

Mariah Smith on August 13, 2020 (Dkt. 155, ¶¶ 184, 190), knowing that on December 15, 2021,

she was found guilty in municipal court for “Obstructing Traffic by Loitering” in violation of

Ordinance 756050 for the August 13, 2020 ticket.4 Attorney Motley was her attorney of record in

municipal court.

    11. Plaintiffs’ counsel allege that on September 5, 2020, Mariah Smith was placed under arrest

with no probable cause that she had committed any crime (Dkt. 155, ¶ 214) and was searched

despite the lack of probable cause for her arrest (Dkt. 155, ¶ 219), knowing that on December 15,

2021, she was found guilty in municipal court for “Disorderly Conduct” in violation of 947.01.5

Attorney Motley was her attorney of record in municipal court. Additionally, the Complaint itself

concedes she was arrested for an ordinance disorderly conduct violation. (Dkt. 155, ¶¶ 220, 1036)


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  See Municipal Court Records and Milwaukee County Case Number 2022FO000106 Wauwatosa, City of vs.
Joanna L Geisler.
3
  See Municipal Court Records and Milwaukee County Case Number 2022FO000102 Wauwatosa, City of vs.
William E Schroeder.
4
  See Municipal Court Records and Milwaukee County Case Number 2022FO000110 Wauwatosa, City of vs. Mariah
R Smith
5
  See Municipal Court Records and Milwaukee County Case Number 2022FO000115 Wauwatosa, City of vs. Mariah
R Smith.


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   12. Plaintiffs’ counsel allege that Defendants never attempted to get a search warrant for

Talevia Coles’ phone (Dkt. 155, ¶ 365), knowing that on October 29, 2020, Defendants attempted

to get a search warrant for her phone. (See Search Warrant Application-Bates Nos. DEFS’ RPD

016939 – 016954)

   Plaintiffs’ counsel intentionally lied by making these allegations in the Fourth Amended

Complaint. Any one of these issues, standing alone, could warrant sanctions. Taken as a whole,

they show that Plaintiffs’ attorneys have significantly abused the judicial process. Defendants have

had no choice but to respond to their baseless arguments. The conduct of this litigation was

unreasonably vexatious by several measures. It follows that Plaintiffs’ attorneys should face

sanctions.

                                         CONCLUSION
       For the forgoing reasons, this Court should find that Plaintiffs’ attorneys proffered claims

not backed by law; proffered factual allegations and claims they know to be false; and have

dragged out these proceedings even after a prior motion to dismiss was granted, all in violation of

Rule 11. The Court should accordingly sanction Plaintiffs’ attorneys.

       Dated at Wauwatosa, Wisconsin this 28th day of March 2022.

                                                     GUNTA LAW OFFICES, S.C.
                                                     Attorneys for Defendants

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